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                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION


MARIAN SNOW               )
                          )
      Plaintiff,          )
                          )
v.                        )                                   7:17-cv-01961-LSC
                          )
GENERAL ELECTRIC COMPANY, )
DELL TECHNOLOGIES, DELL )
INC., DELL EMC, ET. AL.,  )
                          )
      Defendants.         )

                               MEMORANDUM OF OPINION

       Plaintiff                                                 brought this action, pro se,

against General Electric Company, Dell Technologies, Dell, Inc., and Dell EMC

                                                                        47 U.S.C. § 227, and

under Alabama Code § 6-11-20(4) for wrongful conversion of personal property.

Before the Court are motions to dismiss by Defendant General Electric Company

          (doc. 25) and Defendant Dell Technologies, Dell Inc., and Dell EMC

    the Dell defendants       (doc. 26)                                    .1 Snow has timely



1
        Plaintiff also names Does 1-5 as defendants in this action. (Doc. 4 at 2.) However,
 [a]s a general matter, fictitious-party pleading is not permitted in federal court. Richardson v.
Johnson, 598 F.3d 734, 738 (11th Cir. 2010) (citing New v. Sports & Recreation, Inc., 114 F.3d
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filed her opposition. The motions are fully briefed and ripe for review.                 For the

reasons stated below, D                                         are due to be granted in part

and denied in part.

    I.     BACKGROUND2

         On March 29, 2014, while living in North Carolina                             , Plaintiff

purchased a cell phone provided by the service Tracfone. Soon afterward, she

began to be bombarded with batches of text messages at all hours of the day. She

asserts Defendants took the actions necessary to initiate communication with her

through the use of her telephone number3 by an automated telephone dialing

system resulting in a barrage of unwanted text messages to her cell phone between



1092, 1094 n. 1 (11th Cir. 1997)). The Eleventh Circuit has created a limited exception to this
                        s description of the def                             at the very worst,
sur          Id. (quoting Dean v. Barber, 951 F.2d 1210, 1215 16 (11th Cir. 1992)
description of the Doe defendants contains no such specificity.

2




           Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1273 n.1 (11th Cir. 1999) (citing Hawthorne
v. Mac Adjustment, Inc., 140 F.3d 1367, 1370 (11th Cir. 1998)). The following facts are, therefore,
taken from Plaintif                                 amended complaint, and the Court makes no
ruling on their veracity.
3
        According to Snow, her cell phone had a 919 area code. (Doc. 34 at 6.) The Court may
take judicial notice that                  with North Carolina as a fact that is not subject to
reasonable dispute. See FED. R. EVID. 201.



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April 1, 2014 and January 15, 2015. Snow claims she received up to thirty-nine text

messages within a single 24-hour period      which were often transmitted in batches

at a rate of seven or more per minute. She estimates that a total of more than 2900

texts were sent to her phone during the relevant time period, none of which

provided an opt-out mechanism or contact information to allow communication

with the sender. According to Snow, the text messages were sent from GE, with

technical support from Dell, because her phone number was previously assigned to

an employee or device connected to GE. Some of the text messages purportedly

                                         ; Snow therefore surmises that they were

sent by GE. Snow claims Defendants                       inflicted upon her: incessant

disturbance and annoyance; persistent interruption of sleep; loss of time and

financial resources; a commandeering of the data storage and battery life of her cell

phone; in addition to fatigue, anguish, and suffering.

   II.      STANDARD OF REVIEW

         In a Rule 12(b)(2) motion to dismiss for lack of personal jurisdiction, the



jurisdiction over the movant, non-                            Morris v. SSE, Inc., 843

F.2d 489, 492 (11th Cir.


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established if the plaintiff presents enough evidence to withstand a motion for

                      Madara v. Hall, 916 F.2d 1510, 1514 (11th Cir. 1990) (citations

omitted). The Court must treat facts alleged in the complaint as true if they are not

controverted by affidavits or non-conclusory declarations submitted from the

defendant. Id. However, if the defendant submits affidavits or declarations, the

plaintiff must produce additional evidence supporting jurisdiction unless the

                                                      Stubbs v. Wyndham Nassau Resort &

Crystal Palace Casino, 447 F.3d 1357, 1360 (11th Cir. 2006). When record evidence

is in conflict                                                                         vor of the

             Id.

    III.    DISCUSSION

            a. PERSONAL JURISDICTION4




4
        The Court addresses the jurisdictional issue first. A court without personal jurisdiction is
powerless to take further action. See Read v. Ulmer, 308 F.2d 915, 917 (5th Cir. 1962) (
seem elementary that if the court has no jurisdiction over a defendant, the defendant has an
unqualified right to have an order entered granting its motion to dismiss. In the absence of
jurisdiction over the person of a defendant in an action in personam, the orders and judgments of
the court are void. ; see also Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981) (en
banc) (Decisions of the former Fifth Circuit handed down before the close of business on
September 30, 1981 are binding on this Court).




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        The Dell defendants and GE                    all non-Alabama corporations5          seek

dismissal of the claims against them averring that the Court does not possess

personal jurisdiction over them.6 Where, as here, jurisdiction is predicated upon a

federal question7

                                                                               -arm statute to

determine the existence of personal jurisdiction. Sculptchair, Inc. v. Century Arts,

Ltd., 94 F.3d 623, 626 27 (11th Cir. 1996) (citation omitted). In this case, the

TCPA does not furnish directions as to service of process for private actions,8 so



5
      Plaintiff alleges that Dell EMC is a Delaware corporation headquartered in Hopkinton,
Massachusetts; while Dell Technologies, Inc. and Dell, Inc. are Delaware corporations
headquartered in Round Rock, Texas. She also alleges that GE is a New York Corporation
headquartered in Boston. (Doc. 4 at 2.)
6
       In her oppositions, Snow argues that both GE and the Dell defendants waived any
challenge to personal jurisdiction or venue; however Rule 12(h) permits a defendant to raise
personal jurisdiction and venue challenges at the time of its deadline to respond initially to the
complaint, notwithstanding a prior appearance in the case. Fed. R. Civ. P. 12(h)(1)(B). GE and
the Dell defendants did so; thus, there was no waiver.
7
        In her amended complaint, Plaintiff stated that jurisdiction was based upon 47 USC. §
227(b)(3), 28 U.S.C. § 1331, and 28 U.S.C. § 1367(a). (Doc. 4 at 1.)

8

                                                                 2011), . . . Congress specifically
addressed venue, service of process, § 227(g)(4), and potential conflicts between federal and
state enforcement efforts, § 227(g)(7). No similar prescriptions appear in the section on private
actions, 47 U.S.C. § 227(b)(3) . . . . Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 381 n. 11
(2012).



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                                       -arm statute in deciding whether personal

jurisdiction is present.

      Personal jurisdiction is generally a two-step inquiry, as the Court must

consider whether personal jurisdiction is consistent with the forum                   -

arm statute and whether the exercise of personal jurisdiction is consistent with the

Due Process Clause of the Fourteenth Amendment. Mut. Serv. Ins. Co. v. Frit

Indus., Inc., 358 F.3d 1312, 1319 (11th Cir. 2004). However, for federal courts in

                                                                -arm statute permits

the exercise of personal jurisdiction to the fullest extent constitutionally

               Sloss Indus. Corp. v. Eurisol, 488 F.3d 922, 925 (11th Cir. 2007)

(citing Ala. R. Civ. P. 4.2(b)); see also Ex Parte Edgetech I.G., Inc., 159 So. 3d 629,

633 (Ala. 2014). Thus, the Court need only consider the limits of the Due Process

Clause. Mut. Serv. Ins. Co., 358 F.3d at 1319.

                process requires only that in order to subject a defendant to a

judgment in personam, if he be not present within the territory of the forum, he

have certain minimum contacts with it such that the maintenance of the suit does



Washington, 326 U.S. 310, 316 (1945) (quoting Milliken v. Meyer, 311 U.S. 457, 463


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(1940)). There are two types of personal jurisdiction       general jurisdiction and

specific jurisdiction   but both ar

forum state.

the forum state that are related to the cause of action. [Whereas,] [g]eneral

                                                     ts with the forum state that are

                              Madara v. Hall, 916 F.2d 1510, 1516 n. 7 (11th Cir.

1990) (citations omitted). Defendants assert that the Court possesses neither

general nor specific jurisdiction over them.

      1) General Jurisdiction

      In order for the Court to exercise general jurisdiction over the non-resident

defendants                      their affiliations with [Alabama] [must be] so

continuous and systematic

Daimler AG v. Bauman, 571 U.S. 117, 138-39 (2014) (quoting Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)).                      forums in

                                                                          s place of

incorporation and its principal place of business.   BN SF Ry. Co. v. Tyrrell, 137 S.

Ct. 1549, 1558 (2017) (citing Daimler, 571 U.S. at 137). While the Daimler Court did




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operations in a forum other than its formal place of incorporation or principal place

of business may be so substantial and of such nature as to render the corporation at

                      such cases are rare. Daimler, 571 U.S. at 138 n. 19 (citing

Perkins v. Benguet Consol. Mining Co., 342 U.S. 437, 447 448 (1952) in which a

company

occupation . . . by                                     s president, from his Ohio

                                              he re                                 s

properties in the Philippines and . . . dispatched funds to cover purchases of

mac                                  as such an exception). The contacts must be

sufficient that suit is justified in the subject state even in the absence of related

dealings.                  , 326 U.S. at 318. For example, a defendant with no place

of business, employees, bank accounts, advertisements, or manufacturing facilities

in North Carolina, but which had agreements with other companies

centers to distribute its products in North Carolina was not subject to general

personal jurisdiction there. See Goodyear, 564 U.S. at 929

                                                                      nd systematic




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against [the defendant] on claims unrelated to anything that connects [it] to the



      No mention is made in the amended complaint regarding GE             or the Dell

Defendant

dismiss that GE conducts significant business within Alabama citing to and

                                          The articles show that GE employs 450

fulltime manufacturing and professional jobs in Alabama, its economic presence

contributed to more than $165 million in compensation in 2016, and it recently

made a $200 million investment to build a new GE Aviation facility in Huntsville

where it intends to employ 400 people.

      But, as [the Supreme Court] observed in Daimler
      jurisdiction inquiry does not focus solely on the magnitude of the
                     -               Id., [] 134 S. Ct., at 762, n. 20 (internal


      corporation that operates in many places can scarcely be deemed at
                           Ibid.

BN SF Ry. Co., 137 S. Ct. at 1559 (holding that a railroad with over 2000 employees

and 2000 miles of track in the state of Montana was not subject to general

jurisdiction there). Plaintiff has not shown how this case qualifies as exceptional. As




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such, the Court finds no basis upon which to exercise general jurisdiction over

Defendants.9

       2) Specific Jurisdiction

       For the Court to exercise specific jurisdiction over Defendants, their                       -

                                                                                               Sloss

Indus. Corp. v. Eurisol, 448 F.3d 922, 925 (11th Cir. 2007).

to assert specific personal jurisdiction over a nonresident defendant, due process



                                                        Madara, 916 F.2d at 1516 (quoting

Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985)). The inquiry whether a

forum State may assert specific jurisdiction over a nonresident defendant focuses

                                                                                          Keeton v.

Hustler Magazine, Inc., 465 U.S. 770, 775 (1984) (quoting Shaffer v. Heitner, 433

U.S. 186, 204 (1977)). Specific jurisdiction does not require a large volume of



9
        Though the Dell defendants do not base their argument against jurisdiction upon general
jurisdiction, and Snow likewise, does not address general jurisdiction as against the Dell
defendants it in her response, the Court finds nothing upon which to base an exercise of general
jurisdiction over the Dell defendants. Snow has not alleged sufficient facts to establish that either
GE or the Dell defendants are essentially at home in Alabama.



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contacts with the forum state, as even a single purposeful contact may give rise to

personal jurisdiction.                                       , 355 U.S. 220, 223 (1957); see

also Licciardello v. Lovelady



forum,                                                        citing Burger King, 471 U.S. at

475 n.18)).

         In her amended complaint, Snow failed to allege that any of the tortious

behavior occurred in the Northern District of Alabama               or in Alabama at all. The

only mention made regarding Alabama                                                       is her

allegation that she currently resides here. Both Dell defendants and GE present

evidence in the form of exhibits10 to their motions to dismiss to show that Snow was

domiciled in North Carolina during the events on which Plaintiff rests both her

TCPA and conversion claim. Snow was engaged in at least four lawsuits,11 which



10
        When ruling upon a Rule 12(b)(2) motion to dismiss, the Court is entitled to consider
documents extrinsic to the complaint. See, e.g., Sculptchair,
raises through affidavits, documents or testimony a meritorious challenge to personal
jurisdiction, the burden shifts to the plaintiff to prove jurisdiction by affidavits, testimony or

11
       Marian Snow v. Wells Fargo Bank, N.A., et al., No. 7:14-cv-2 (E.D.N.C.) (Doc. 25-1, 26-
3); Marian Snow v. CitiBank, N.A., No. 5:14-cv-59 (E.D.N.C.) (Doc. 25-4, 26-5); Marian Snow v.



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were filed between January 2014 and August 2015 in the Eastern District of North

Carolina. In each, she listed her address as being in NC.12 The Court takes judicial

notice13 of these documents. Regardless of whether the information in the

documents regarding her addresses is true, Snow included them in the filings of

previous proceedings and attested to their truth under penalty of perjury.

       As for the most recent NC case, in her affidavit (doc. 34), Snow avers she

travelled back to the state to visit her son and family, where she filed the August 24,


Brock & Scott PLLC, et al., Case No. 7:14-cv-28 (E.D.N.C.) (Doc. 25-7, 26-6); Marian Snow v.
Client Services, Inc., No. 5:15-cv-419 (E.D.N.C.) (Doc. 25-9, 26-7).
12
        Snow had also filed suit in NC in January 2014, Snow v. Wells Fargo Bank, N.A., et al., No.
7:14-CV-2 (E.D.N.C.), in which she attached an affidavit testifying that her principal dwelling
was in Top Sail Beach, NC. (Doc. 25-1 at 25.) In her affidavit submitted to this Court (doc. 34) in
support of her oppositions, Snow testified that the Top Sail property was only a vacation rental
property and she never stayed there longer than two weeks each year only visiting for sporadic
weekends.(Doc. 34 at 2.) This inconsistency is revealing, and is not the only one the Court has
found. Snow is estopped from from changing positions according to the exigencies of the
            New Hampshire v. Maine, 532 U.S. 742, 749 (2001); see also Robinson v. Tyson Foods,
Inc., 595 F.3d 1269, 1273 (11th Cir. 2010) Specifically, ju                                 prevent
a party from asserting a claim in a legal proceeding that is inconsistent with a claim taken by the
party in a previous preceding. (citing 18 Moore's Federal Practice § 134.30 (3d ed. 2008))).
13



Universal Express, Inc. v. SEC
take judicial notice of a complaint filed in another court because it qualifies as a public record)
(citing Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1277-78, 1280 (11th Cir. 1999)); Klopfenstein v.
Deutsche Bank Sec., Inc.                          16 n. 5 (11th Cir. 2014) (same); see also Fed. R.
Evid. 201.




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2015 lawsuit in the Eastern District of North Carolina. She alleges that she listed a

NC address because she had                                          because the case

involved actions occurring between September 2012 and January 2013 during

which she was in NC.

mailing address and contact when filing.

      In addition, Snow filed an unlawful detainer case in Tuscaloosa district court

on January 5, 2015   five months after she is purported to have exited NC     listing

her address as being in Wilson, NC. (Doc. 25-11.) When Snow voluntarily

dismissed that case on March 9, 2015       almost seven months after she alleges she

had stopped receiving the text messages      she continued to list Wilson, NC as her

address in court filings. (Doc. 25-12.) It was not until August 22, 2016 when Snow

filed another unlawful detainer action that she listed her address as being in

Tuscaloosa, Alabama. (Doc. 25-13.)

      In her affidavit, Snow testifies that in 2009 she went to NC to allow her

autistic son to attend high school there, which also allowed for her to be near her

eldest son and his family who reside in Wilson, NC. She lived at various NC



Drive in Wilson, NC. Snow was in NC during much of the time when she began


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receiving the text messages, but alleges she only remained there until August 2014.

She calculates that time period to be a minority (40%) of the total time the messages

were sent   stating that at no time after August 2014 was she located in NC when

she received the text messages. Tellingly, Snow does not allege where she was

when she received the other 60% of the texts. Snow says she moved

                  out of NC after her lease in Zebulon, NC expired at the end of

July 2014 and t

in Tuscaloosa County, Alabama. Snow insists that at that time Tuscaloosa was her

domicile, residence and the place she intended to remain; but the affidavit is vague

and gives the Court no definitive date upon which her domicile in Alabama began.

      Snow asserts in her oppositions that          and her cellular telephone were

indeed in Alabama when a substantial portion of [the] tortious conduct was

                  oc. 33 at 29.) However, in neither her amended complaint nor her

affidavit does Snow ever affirmatively aver that she received even a single text

message while she was in Alabama.

conclusory jurisdictional arguments she makes in her responses. Furthermore,




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                                                           ,14 and nothing in the amended

complaint or her affidavit suggests she ever apprised Defendants of her alleged

presence in Alabama. Consequently, no Defendant can be said to have targeted

Alabama. Even crediting the affidavit and considering the facts as alleged in the

amended complaint in a light most favorable to Snow, the Court does not find it

possesses specific jurisdiction over either GE or the Dell defendants.

       Because the Court has found no contacts sufficient to subject either the Dell

defendants or GE to personal jurisdiction in Alabama, the Court need not evaluate

whether jurisdiction over them would be fair. See Hanson v. Denckla, 357 U.S. 235,

254 (1958); see also World-Wide Volkswagen Corp

defendant would suffer minimal or no inconvenience from being forced to litigate

before the tribunals of another State; even if the forum State has a strong interest in

applying its law to the controversy; even if the forum State is the most convenient


14

particular state that violate the TCPA sufficient to satisfy the [purposeful direction] test for a
court of that state to exercise personal jurisdiction over the defe               Keim v. ADF
MidAtlantic, LLC, 199 F. Supp. 3d 1362, 1370 (S.D. Fla. 2016) (collecting cases); Luna v. Shac,
LLC, No. C14-00607 HRL, 2014 WL 3421514, at *4 (N.D. Cal. July 14, 2014)
defendant] intentionally sent unsolicited text messages advertising [itself] to California cell
phone numbers, which conduct gave rise to this litigation, it purposefully directed its activity to
California such that [the defendant] is reasonably subject to the personal jurisdiction of [the
court] .



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location for litigation, the Due Process Clause, acting as an instrument of interstate

federalism, may sometimes act to divest the State of its power to render a valid

                                                             the Dell defendants and

GE does not comport with due process and, as such, Defendants cannot be made to

defend this action in Alabama.

          b. VENUE

                                                                  istrict in which any

defendant resides, if all defendants are residents of the State in which the district is

located; (2) a judicial district in which a substantial part of the events or omissions

giving rise to the claim occurred, or a substantial part of property that is the subject

of the action is situated; (3) if there is no district in which an action may otherwise

be brought as provided in this section, any judicial district in which any defendant

                          s personal jurisdiction with respect to such action.

U.S.C. § 1391 (b). A corporation

judicial district in which such defendant                                   s personal

jurisdiction with respect to the civil action in question   28 U.S.C. § 1391(c)(2). As



personal jurisdiction. The events                                    as alleged in the



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amended complaint did not occur in Alabama and no defendant resides in Alabama.

As such, venue is improper in this district.

           c. TRANSFER OF CLAIMS OR AMENDMENT

       In her responses in opposition, Snow requests that if the Defendants are not

subject to jurisdiction in Alabama, which they are not, that in the alternative, the

Court either allow her to amend her complaint to state claims, or that the Court

transfer the case to the proper district in lieu of dismissal pursuant to 29 U.S.C. §

1404(a).15 Pursuant to 28 U.S.C. § 1631, i

jurisdiction, the court shall, if it is in the interest of justice, transfer such action or

appeal to any other such court in which the action or appeal could have been

brought at the time it was filed or noticed . . . . In its reply, GE establishes that if

Snow makes a request to transfer pursuant to 28 U.S.C. § 1406(a), 16 it would not

object to transfer to the Eastern District of North Carolina. (Doc. 36 at 9.) The Dell



15
       29 U.S.C. § 1404 concerns alternative methods of withdrawal liability payments. The
Court assumes Snow intended to cite 28 U.S.C. § 1404 which sets forth procedures for changes
of venue and transfers.
16
          (a) The district court of a district in which is filed a case laying venue in the wrong
division or district shall dismiss, or if it be in the interest of justice, transfer such case to any
district or division in which it could have been brought.




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                                                                     Pursuant to 28 USC. §

1658(a), the statute of limitations for violations of 47 U.S.C. § 227 is four years

after the cause of action accrues.                                                   , the Court

finds it would be in the interest of justice to transfer her claims instead of

dismissing them.

       C.      CONCLUSION17

       For the reasons stated above,                       motions (docs. 25 & 26) are due

to be granted in part and denied in part. The Court finds that neither GE nor the

Dell defendants can be made to defend this case in Alabama and the Northern

District of Alabama is not the proper venue for this action. The case is therefore

due to be transferred to the Eastern District of North Carolina. Thus, Snow is

DIRECTED to file a motion to transfer this action pursuant to 28 U.S.C. § 1406(a)

within fifteen (15) days of the entry of this Memorandum of Opinion. If Snow does

not file such a motion to transfer within the time period stated, the Court will

17
        Because the Court has concluded it lacks jurisdiction over the Defendants, it does not
reach the merits of Sn                          on claims.
proceed at all in any cause. Jurisdiction is power to declare the law, and when it ceases to exist,
the only function remaining to the court is that of announcing the fact and dismissing the cause
In re Bayou Shores SNF, LLC, 828 F.3d 1297, 1329 (11th Cir. 2016) (citing Steel Co. v. Citizens for
a Better Env t, 523 U.S. 83, 94 (1998) (quoting Ex parte McCardle, 74 U.S. 506, 514 (1868))).




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DISMISS this action without prejudice. A separate Order will be entered with this

Opinion.


      DONE and ORDERED on August 3, 2018.



                                             _____________________________
                                                     L. Scott Coogler
                                                United States District Judge
                                                                               190685




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